 Case 4:20-cv-00283-O Document 129 Filed 04/20/23                 Page 1 of 2 PageID 2333



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT                           §
 INC. et al.,                                   §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             § Civil Action No. 4:20-cv-00283-O
                                                §
 XAVIER BECERRA et al.,                         §
                                                §
        Defendants.                             §

                                            ORDER

       Final Judgment in this case was entered on March 30, 2023 (ECF No. 114). Defendants

filed their Notice of Appeal on March 31, 2023 (ECF No. 115). Even though they noticed an

appeal on March 31, Defendants waited until April 12 to file their Motion for Partial Stay of

Judgment Pending Appeal (ECF No. 121). And they imposed a deadline of April 20, 2023, for the

Court to rule on this request. While the Court has a very crowded docket—including preparing to

begin a complicated multimillion dollar personal injury trial on Monday—the Court expedited

briefing on Defendants’ motion for a partial stay in an attempt to accommodate them. This

expedited briefing schedule ultimately required Plaintiffs to seek an extension, and they have now

responded (ECF No. 127) and Defendants have replied (ECF No. 128). The Court DEFERS

ruling on Defendants’ motion while the Court considers the parties’ briefing on the merits.

       Defendants urge the Court to grant an emergency stay of the first paragraph of item 3 of

its Final Judgment (ECF No. 114) pending appeal because “[p]rotections that apply to more than

150 million Americans, requiring that lifesaving and other important medical coverage be

provided without cost-sharing, will be disrupted, leading some Americans to needlessly suffer
    Case 4:20-cv-00283-O Document 129 Filed 04/20/23               Page 2 of 2 PageID 2334



from severe illness or die because they did not receive preventive care, or a disease was detected

too late.”1 However, published reports provide that relevant trade group representatives have

informed Congress that “[t]he overwhelming majority [of the nation’s largest health insurers and

trade associations] do not anticipate making changes to no-cost share preventive services, and do

not expect disruptions in coverage of preventive care, while the case proceeds through the courts.”

Stephanie Armour, Most Major Insurers to Continue Preventive Care Services, THE WALL STREET

JOURNAL,       Apr.    20,   2023,   https://www.wsj.com/articles/most-major-insurers-to-continue-

preventive-care-services-a205675c (citing Aril 19, 2023 letter to Congressional leaders from

healthcare associations regarding coverage of preventive services).

          Given this information, the Court ORDERS Defendants—as soon as practical—to (1)

address their commitment to the assertions that, absent an emergency stay pending appeal, more

than 150 million Americans’ preventive care services coverage will be disrupted; and (2) explain

what evidence they have that insureds will lose their coverage as suggested in Defendants’

briefing. The Court will take this information into consideration when evaluating the merits of

Defendants’ request for emergency relief and whether they have carried their burden to justify this

Court’s discretionary imposition of a stay pending appeal.

          As previously stated, the Court will take up Defendants’ motion as expeditiously as

possible, while attending to other pressing matters, in an attempt to accommodate their emergency

request. However, if Defendants must seek emergency relief from the Fifth Circuit before this

Court can resolve the motion to stay, Defendants are within their right to do so.

          SO ORDERED this 20th day of April, 2023.


                                                          _____________________________________
                                                          Reed O’Connor
                                                          UNITED STATES DISTRICT JUDGE
1
    Def.’s Reply 1, ECF No. 128.


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